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UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 22-00049 JAO
                                        )
            Plaintiff,                  )   OPPOSITION TO DEFENDANT’S
                                        )   MOTION TO REVIEW DETENTION
      v.                                )   ORDER; CERTIFICATE OF SERVICE
                                        )
MATTHEW BELANGER,                       )
                                        )
            Defendant.                  )
                                        )
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                 OPPOSITION TO DEFENDANT’S MOTION
                    TO REVIEW DETENTION ORDER

      The United States of America hereby opposes defendant’s Motion to Review

Detention Order (ECF No. 13). Defendant presents both a danger to the

community and a risk of non-appearance that cannot be reasonably mitigated by

any condition or combination of conditions of release. In particular, substantial

evidence demonstrates that defendant has planned to attack with firearms and

Molotov cocktails, i.e., homemade explosives, a synagogue in his home state of

New York, engaged in live exercises to practice such an attack, and made plans to

engage in widespread homicide and sexual assault to decrease the number of

minority residents in the United States. Further, to the extent that defendant seeks

to reside with his family as proposed at his initial appearance and removal hearing

in the Eastern District of New York, such plan is unacceptable because defendant

would be living in the same household as his co-conspirator for the charged

offenses. Consequently, defendant’s motion should be denied, and defendant

should remained detained pending trial.

      Defendant is eligible for detention because the charged offenses are felonies

not otherwise a crime of violence involving the possession of a firearm, 18 U.S.C.

§ 3142(f)(1)(E), and because a serious risk exists that defendant will flee, id. §

3142(f)(2)(A). The Indictment charges defendant with strawman purchases of a

firearm in Counts 2 and 3, and conspiracy to do the same in Count 1, in violation
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of 18 U.S.C. §§ 371, 922(a)(6), 924(a)(2), 924(a)(1)(A), and 2. Defendant faces a

statutory maximum of 20 years imprisonment if convicted of all three offenses.

Defendant is a resident of the Long Island area of New York, having returned there

after being discharged from the United States Marine Corps (USMC) under Other

Than Honorable Conditions for Misconduct (Serious Offense), specifically for

dissident/extremist activity, on or about May 10, 2021. At the time of his arrest,

defendant was residing with his mother and step-father, who are believed to be

relocating, or are about to relocate, to Florida.

       The Federal Bureau of Investigation (FBI) began investigating defendant

while he was a member of the Marine Corps stationed in Honolulu for conspiring

to violate:

       a. 18 U.S.C. § 249(a)(1), which prohibits willfully causing bodily injury or
          attempting to cause bodily injury by using fire, a firearm, an explosive or
          incendiary device, or other dangerous weapon because of the actual or
          perceived race, color, religion, or national origin of any person; and

       b. 18 U.S.C. § 247(c), which prohibits intentionally defacing, damaging, or
          destroying religious real property based on the religious, ethnic, or racial
          characteristics of the property because of the race, color or ethnic
          characteristics of any individual associated with that religious property.1



1
  Because Jews were considered a separate race at the time the 13th Amendment to
the United States Constitution was ratified, damage to synagogues—like Black
churches—is proscribed by this statute. See Shaare Tefila Congregation v. Cobb,
481 U.S. 615, 617 (1987) (holding Jews are race for purposes of 42 U.S.C. §
1982); see also Saint Francis College v. Al-Khazraji, 481 U.S. 604, 613 (1987)
(holding Arabs are a race for purposes of 42 U.S.C. § 1981).
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The investigation was grounded in evidence that defendant was using social media

to conspire with others, including members of a group called Rapekrieg, to commit

the aforementioned hate crimes. Information obtained through interviews

conducted by FBI New York indicated that defendant and his associates from Long

Island, New York, who were also members of Rapekrieg, had procured weapons,

uniforms, and tactical gear, and discussed committing attacks on a synagogue,

Jewish persons, women, and minorities, including the rape of “enemies” to injure,

oppress, threaten, and intimidate, and the rape of white women to increase the

production of white children in furtherance of Raprekrieg’s goal of creating a

white ethno-state through accelerationist means. In addition, the FBI learned that

Rapekrieg had overlapping beliefs and membership with Atomwaffen Division and

Rapewaffen, similar groups whose members espouse racially motivated violent

extremist Neo-Nazi rhetoric and call for acts of violence to further their extremist

ideology.

      During 2020, FBI agents conducted interviews of other Rapekrieg members,

some of whom identified defendant as one of the leaders and administrators of

Rapekrieg. In or about May 2020, members of Rapekrieg wrote and published a

manifesto detailing their beliefs and the acts of violence they wish to commit to

further their agenda. According to the Rapekrieg members interviewed, the




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manifesto was produced, in part or in full, by defendant. The following are

excerpts taken directly from the Rapekrieg manifesto:

      a. “Rape, for example, is an extremely effective tool against our many foes,
         as its verbal use as a threat or direct use against an individual greatly
         reduces enemy morale and strikes a nameless fear in their hearts. While
         this is especially effective against females, the emasculated cesspool of
         progressive males is just as affected, being inherently effeminate
         themselves. The idea of a nameless skull mask figure threatening to rape
         their family can subdue many into passivity. While some may reject rape
         as a tool, victory must be achieved no matter the cost, as we may never
         get another chance to save our people. Every day, the jew and its golems
         commit countless atrocities against our kind, but this is merely one part
         of the perfectly concocted jewish scheme. Combine decades of pacifying
         whites through jewish media and education with importing and
         promoting the most violent cultures to live in proximity and what do you
         get? The constant stream of anti-white violence that you see today. Those
         of us who see past the wall of lies are now at this reality’s mercy, forced
         to bear all the hatred that recognizing the state of our race has given.”

      b. “For every white child beaten, white man stabbed, white family gunned
         down, that malice is transferred to us tenfold. The Rape ideology seeks to
         channel this bottled enmity and release it upon our enemies in a manner
         so boundless and excruciating that nonwhites will develop an entire
         culture of fear around the white man for the rest of time.”

      c. “…When the jew is finally threatened with its end, these females will
         remain in their brainwashed state. During the collapse, we will bypass
         their now useless ideals and breed them. Abortions will become a rarity,
         but we must not leave them to raise the child on their own, this has been
         proven to be a detrimental outcome. Much like the Rape captives of the
         Stone Age, they will eventually respect your dominance, and let you
         make the necessary decisions to guide your new white family onward.”

      d. “…If you have any doubts about being able to pull the trigger on a jewish
         child, then you are not mentally prepared for the level of violence that
         first-world collapses will bring. To be successful in this battle for
         survival, the white man must learn to hate, seeing red the moment he lays
         his eyes on a member of the race that has inflicted unspeakable horrors
         onto his people.”
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      e. “Psychological warfare is continuing to be developed by our
         governments as sixth generational war tactics take center stage. While
         any hopes of matching the scope or funding of their hidden black projects
         are laughable, inflicting psychological warfare on our enemies will be
         imperative in eroding their morale, as well as sending a clear message to
         the spectator-population that our rule will be unopposed. Enemies of the
         white race will be hanged, burned, drowned, raped and tortured to
         achieve this. A culture of violence is the only way to mobilize what little
         of the race-conscious whites are left in the struggle to end semitism. You
         cannot simply remove one head of the jewish hydra, every jew must be
         killed to ensure that their tribe can no longer congregate to harm whites
         ever again.”

      According to a witness (“W1”) who was friends with the defendant and

other Rapekrieg members, in or about February 2020, defendant and another

Rapekrieg member showed up unannounced at the witness’ residence wearing

tactical equipment, including camouflage, body armor, and bullet proof head gear.

Defendant told W1 that he wanted to conduct an exercise in the woods, and asked

W1 to demonstrate tactics W1 learned while in the USMC. Defendant took W1

into the woods near defendant’s residence to conduct the exercises. Defendant

specifically asked W1 to share his knowledge and training about assaulting aircraft

and how to keep a low profile while patrolling. W1 summarized the entire event as

bizarre and an exercise defendant seemed to take seriously.

      According to W1, in or about May 2020, W1 received another

communication from defendant, who was utilizing his social media, displaying

pictures of a Lugar style pistol. Defendant discussed pricing of the firearm, and

how he got it for a great deal. In an interview conducted by FBI agents on October

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20, 2020, defendant stated he owned two firearms, described as a bolt action rifle

and a Remington Model 870 tactical express shotgun, which he said he was storing

at his residence in New York. Defendant confirmed he has access to more

weapons, some of which would be illegal for him to own, through Associate 1 (his

uncharged co-conspirator referenced in the Indictment). Defendant never

mentioned the Lugar-style pistol to the FBI during his interview, which is the

firearm purchased by defendant’s strawman as charged in the Indictment.

      W1 also provided a screen shot of a conversation he observed between two

social media accounts with display names Adolf Hitler and Goebbels. (Given the

substance and context of communications, the latter account display name appears

to be borrowed from Paul Joseph Goebbels, an associate of Adolf Hitler and Reich

Minister of Propaganda of Nazi Germany.) W1 identified the Adolf Hitler account

as belonging to defendant, who subsequently confirmed for FBI that the account is

his. In this conversation Goebbels stated, “[T]he Jew is the only thing between

you and your dream.” From the Adolf Hitler account, defendant replied, “That

fucking synagogue is going to get it.” Goebbels then followed up with a document

containing techniques and methods associated with attacking members of the

Jewish community. The document identified two individuals popular for their

work with the Jewish community along with associated physical addresses. The




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following are excerpts taken directly from the document provided by Goebbels to

defendant:

      a. “You don’t accomplish anything when you shoot random Jews at a
         synagogue that aren’t significant in any way.”

      b. “If you don’t have anything else to live for and your life doesn’t have
         much value, go after members of the media, political organizations,
         financers of organizations, high profile activists, etc. that out way your
         influence and impact. You can get untraceable guns off armslist by
         buying a gun with cash from a random person and you can buy ammo
         from any gun store with cash. Street cameras can identify your license
         plates, so steal a pair of plates from the state that you’re committing your
         crime. I suggest practicing replacing license plates on your vehicle so you
         can swap them out fast. Also make sure to pay for gas, road tolls, food,
         etc. with cash only and take the battery out of your phone or leave your
         phone at home so your location can’t be traced.”

      c. “Before you do this, delete all your social media, destroy your hard
         drives and any evidence that would suggest your motive if you get
         caught.”

      During an interview in or about August 2020, an associate (hereafter

referred to as “W2”) of defendant who is also a member of Rapekrieg and

participated in some of the overt acts done in furtherance of the suspected

conspiracy being investigated by the FBI provided the following information:

Rapekrieg members have purchased uniforms, including black body armor with

level-3 plates, military helmets, green utility uniforms, and a skull facemask.

Rapekrieg members have conducted training together approximately once per year

since 2017 with real firearms. Defendant and other Rapekrieg members also

trained with airsoft guns in the woods across from a synagogue in the Long Island

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area of New York. When training in the woods, Rapekrieg members acted as if

their enemy was Zionist Order of Governments (“ZOG”). (ZOG is an acronym

commonly used by white supremacist for “Zionist Occupied Government,” which

reflects the belief that the U.S. government is controlled by Jews.) W2 attended

training with the group once in 2017.

      According to W2, defendant and other Rapekrieg members have plans to

take action against specified and unspecified targets. Defendant and Rapekrieg

members originally discussed “shooting up” the synagogue, but eventually decided

that burning it down at night using Molotov cocktails was a better plan. According

to W2, some of the Rapekrieg members have indicated they performed operational

surveillance on the synagogue specifically to identify any security cameras located

on the building. W2 said these conversations took place prior to defendant joining

the USMC in 2019.

      The FBI has performed a digital evidence review of two phones and one

laptop belonging to defendant seized in or about October 2020. As a result, FBI

located approximately 1,950 images, videos and documents related to white power

groups, Nazi literature, brutality towards the Jewish community, brutality towards

women, rape, previous mass murderers such as Dylan Roof, firearms, body armor,

instructional documents on how to build explosives and/or illegal firearms, violent

uncensored executions and/or rape, and other disturbing content. All items


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reviewed spanned from approximately 2016 to October 2020 and show a pattern of

progression towards more extreme, graphic, and violent content.

      In or about December, 2019, FBI New York received reporting from a

confidential source (“CHS1”) that as a member of the USMC, defendant has made

many statements in the Rapekrieg group chat regarding his military service and

personal information; defendant posted several self-images via an encrypted social

media application wearing military fatigues and full tactical gear consistent with

USMC issued clothing, and other equipment, gloves, vest with a Velcro “Ballistic”

label, and a skull mask (which are common apparel used by Neo-Nazi and hate

group organizations such as Atomwaffen Division); defendant wore and displayed

various Neo-Nazi insignia and patches in his photos; defendant commented in

these photos that he was wearing a USMC helmet, “slightly upgraded PASGT”;

and he also stated, “Built in fans keep me cool while on the rape beat,” and “The

boonie stays on during rape.”

      FBI has obtained reporting and screenshots from CHS1 showing in or about

June 2020, defendant stated, “Good find” on the encrypted group chat in response

to a picture of a young female identified by another member of the Rapekrieg

group as a “jew.” The Rapekrieg group also shared among themselves the young

girl’s music school and high school locations, along with YouTube videos of the

young girl playing at a recital. An unidentified member of the group stated,


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“Could possibly get her pretty easy rn.” Defendant responded, “I’m not on

mainland currently so no.”

      The FBI has obtained reporting and communication screenshots from CHS1

that defendant made the following statements on the encrypted group chat

regarding the nationwide protests in June 2020:

      a. “Disguise yourselves as hasidic Jews and shoot until a crowd of
         protestors are dead”; and

      b. “If [T]rump declares martial law imma have to gun down negros
         attacking federal buildings ironic”

      In or about August 2020, FBI New York obtained information that

defendant was participating in an encrypted social media platform with others

articulating neo-Nazi ideology. In communicating with the social media group,

defendant admitted he is a Nazi and encouraged the group’s members to follow

defendant’s “Jew Twitter,” @Ishillingstein. Defendant explained the purpose of

his Twitter account was to generate Black hate towards the Jewish community by

making derogatory statements while disguised as a Jewish man. An FBI review of

publicly available aspects of the @Ishillingstein Twitter account in or about

August 2020 revealed that the account displayed a picture of a man with name

“Israel Shillingstein,” who purportedly has two adopted daughters and a husband,

and the account owner had posted tweets containing hateful and racist statements

about or directed toward minorities. The account also posted a photo of what


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appears to be an animated muscular dog with overlaid writing that states, “In case

of investigation by any federal entity or similar, I fully endorse all actions and

opinions expressed in this group. Catch me if you can, cunts[.]”

      The actions and statements of defendant demonstrate by clear and

convincing evidence that defendant’s release pending trial would pose a danger to

the community that cannot be reasonably mitigated by any condition or

combination of conditions. Further, given that a sentence of imprisonment would

force defendant to reside with members of racial and ethnic groups for which he

has articulated extreme hate and whose existence he has advocated be eliminated

through violence, along with the fact that he cannot return home to live with his

co-conspirator in the charged crimes, a preponderance of the evidence

demonstrates that defendant is a risk of non-appearance or flight that cannot be

reasonable mitigated by any condition of combination of conditions. Accordingly,

defendant’s motion should be denied, and defendant should remain detained

pending trial.

      DATED: July 14, 2022, at Honolulu, Hawaii.

                                               CLARE E. CONNORS
                                               United States Attorney
                                               District of Hawaii

                                               By: /s/ Craig S. Nolan
                                                   CRAIG S. NOLAN
                                                   Assistant U.S. Attorney


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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that, on the date and by the method of service noted

below, a true and correct copy of the foregoing was served on the following at their

last known address:

Served through CM/ECF:

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Attorneys for Defendant
MATTHEW BELANGER

      DATED: July 14, 2022, at Honolulu, Hawaii.


                                /s/ Sheila Mae Limayo
                                U.S. Attorney’s Office
                                District of Hawaii
